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 1                                                                  The Honorable Benjamin H. Settle
 2

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 5

 6                              UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF WASHINGTON
 7
                                         AT TACOMA
 8
      JAMES T. NORVELL, an individual,                       Case No.: 3:17-CV-05683-BHS
 9
                     Plaintiff,                              DEFENDANT BNSF RAILWAY
10                                                           COMPANY’S OBJECTION TO
              vs.                                            VIDEO ZOOM JURY TRIAL
11
      BNSF RAILWAY COMPANY,                                  NOTED FOR HEARING:
12                                                           Friday, November 5, 2021
                     Defendant.
13

14

15          Defendant BNSF Railway Company (“BNSF”) respectfully objects to holding the jury trial
16   in this matter by zoom video and requests an in-person jury trial.
17

18   I.     Introduction.
19          As the COVID-19 pandemic continues to wind down, both local governments and the
20   courts have reopened to the public. Courts in the Western District of Washington have conducted
21   in person jury trials safety under the protocols of the District under its General Orders. COVID-19
22   positive tests, hospitalizations and deaths are down significantly in Washington. Gen Order 10-21
23   (W.D. Wash. June 30, 2021). In Washington State, 78% of the population age twelve and up have
24   received at least one dose of the vaccine, and 72.5% of the same population are fully vaccinated.
25   https://www.doh.wa.gov/emergencies/covid19/datadashboard. In the venire population for this
26   Court, the following percentage of the population has been vaccinated:


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           County             Fully Vaccinated         Fully Vaccinated         Fully Vaccinated
 1
                              (all residents)          (18+ years of age)       (65+ years of age)
 2         Pierce             56%                      68%                      85%
           King               71%                      83%                      90%
 3         Thurston           59%                      69%                      86%
           Mason              54%                      64%                      81%
 4
           Lewis              46%                      55%                      72%
 5         Yakima             54%                      70%                      83%
           Kitsap             58%                      68%                      88%
 6

 7   https://www.nytimes.com/interactive/2021/us/washington-covid-cases.html
 8          Where reasonable control of COVID-19 is at hand, it would be more appropriate to

 9   conduct this trial in-person with the measures outlined in Gen. Orders 10-21 and 11-21 in place.

10   BNSF believes an in-person jury trial is the best way to ensure fairness and to avoid many of the

11   inherent problems with Zoom hearings.

12   II.    Current Status of In-Person Trials in the Western District of Washington – General
            Orders 10-21 and 11-21.
13
            On June 30, 2021, Chief United States District Judge Ricardo Martinez for the Western
14
     District of Washington issued General Order 10-21, which was intended to “address a change in
15
     Court policies given the significant reduction in the number of Coronavirus Disease 2019
16
     (COVID-19) cases in this District” and reopen the courthouses for in-person hearings. Gen Order
17
     10-21 (W.D. Wash. June 30, 2021) The Order found:
18          In the last three months, the daily number of COVID-19 positive cases,
19          hospitalizations, and deaths have significantly decreased in the Western District of
            Washington. State records show that a significant majority of adults in this district
20          have now been fully vaccinated against the novel Coronavirus. All available
            research indicates that widely available vaccines provide significant protection
21          against this disease. The Governor of the State of Washington has stated that the
            State will “reopen” after June 30, 2021.
22

23   Gen. Order 10-21, p. 1. The Order further held “the procedures of General Order 18-20 will no

24   longer be continued. All civil, criminal, and bankruptcy in-person hearings and trials may proceed

25   as scheduled. The courthouses are open to the public.” Id. at p. 2. The Order outlined certain

26


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 1   protective measures for the participants, including mask wearing. 1

 2            Order 10-21 did find that “civil bench and jury trials may be conducted remotely over

 3   Zoom.gov if good cause is established for such a procedure on a case-by-case basis, at the

 4   discretion of individual judges.” Id. at p. 3. This procedure is at the discretion of the Court;

 5   however, the order indicates that an in-person trial should be held unless good cause is shown

 6   otherwise. In the case of Bao Xuyen Le v. Reverend Dr. Martin Luther King, Jr. County, 524

 7   F.Supp.3d 1113 (W.D. Wash. 2021), the District Court ruled that a civil case should proceed with

 8   a Zoom jury trial over defendant’s objections. However, since the decision in Bao Xuyen Le was

 9   issued in March 2021, the circumstances we find ourselves in are dramatically different, as the

10   infection rates, hospitalizations and deaths have dropped dramatically, the Courts have re-opened

11   to the public, Washington State has generally reopened, vaccinations became widely available,

12   and the vaccination rate is very high. See Gen. Order 10-11 p. 1. Further, counsel for BNSF

13   understands that this Court has conducted in person jury trials in criminal cases since the pandemic

14   began without incident.

15   III.     An In-Person Hearing for this Trial is Appropriate and Will Insure a Fair Trial.

16            The use of Zoom trials may have been necessary at the beginning of the pandemic and

17   through early 2021 when there was so much uncertainty and fear, and the nation’s court system

18   risked coming to a complete halt. However, currently the infection, hospitalization and death rates

19   are down significantly, and a very large portion of the population both nationally and in this district

20   have been vaccinated. The FDA further fully approved the Pfizer vaccine on August 23, 2021.

21   https://www.fda.gov/news-events/press-announcements/fda-approves-first-covid-19-

22   vaccine?s_cid=11700:covid%20vaccine%20fda%20approval:sem.ga:p:RG:GM:gen:PTN:FY22

23            The state of Washington is open to the public, as are the courts. As control of COVID-19

24   is at hand, it would be appropriate to conduct this trial in-person with the measures outlined in

25
     1 General Order 11-21 issued August 13, 2021 by Chief Judge Martinez of the Western District of Washington
26
     slightly modified certain protective measures for in-person trials including mask wearing, but otherwise did not
     change Gen. Order 10-21.

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 1   Gen. Orders 10-21 and 11-21 in place. BNSF believes an in-person jury trial is the best way to

 2   ensure fairness and to avoid many of the inherent problems with Zoom hearings, including:

 3            1.         The likelihood of inattention and lack of engagement from the jurors.

 4            There have been multiple examples of juror inattentiveness from the experience of other

 5   Zoom jury trials throughout the country that have been raised by the parties in trial and voire dire.

 6   See Honeywell Int’l Inc.’s Notice of Irregularities at Remote Jury Trial from July 27-29, 2020,

 7   Case No. RG19041182, at p. 2 (Sup. Ct. Cal., July 29, 2020) (jurors laying down, talking to other

 8   people        off        screen,     working,      and      exercising      during      the      trial);

 9   https://www.houstonchronicle.com/news/houston-texas/houston/article/Potential-Harris-County-

10   jurors-vaping-doing-yoga-16252820.php (vaping, doing yoga). Although there may be ways to

11   try to alleviate the risk, it should not be necessary when an in-person trial can be conducted under

12   the District’s guidelines. Plaintiff has demanded a substantial amount of damages (even though

13   the only issue at trial is garden variety emotional distress), and BNSF believes that a remote jury

14   if not fully engaged will unfairly prejudice it in this case.

15            2.         The loss of essential elements of in-person trials.

16            There is a significant value to being in the courtroom to observe witnesses, interact socially

17   with the other jurors in deciding the case, maintain the formality of the judicial process, and allow

18   jurors to monitor their collective conduct during trial. That is difficult to replicate and safeguard

19   in a virtual setting.

20   IV.      Conclusion

21            No good cause has been presented that a Zoom trial is necessary, or that an in-person trial

22   cannot be conducted safely at this time in the Western District of Washington. The courtroom is

23   large, jurors can be spread out over safe distances, jurors can remain masked, and safe courthouse

24   screening processes are in place. BNSF does not believe a Zoom trial meets the standards for due

25   process nor does it ensure the Defendant of the full protections afforded by the Seventh

26


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 1   Amendment to the United States Constitution. BNSF respectfully requests that the trial of this

 2   matter proceed as an in-person hearing.

 3

 4          Respectfully submitted this 29th day of October, 2021.

 5                                         OGLETREE, DEAKINS, NASH, SMOAK & STEWART,
 6                                         P.C.

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 1                                    CERTIFICATE OF SERVICE

 2          I hereby certify that on this date I caused true and correct copies of the foregoing document

 3   to be served upon the following, at the addresses stated below, via ECF.

 4

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15          Attorneys for Plaintiff
16
     Dated this 29th day of October, 2021 in Seattle, Washington.
17

18                                                        /s/ Janet C. Fischer
                                                          Janet C. Fischer
19                                                        Paralegal

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